                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                  Plaintiff,                    )
                                                )
      v.                                        )      Criminal Action No.
                                                )      10-00073-01-CR-W-NKL
GERLARMO CAMMISANO,                             )
                                                )
                  Defendant.                    )

                                          ORDER

       Pursuant to the Report and Recommendation of United States Magistrate Judge Robert E.

Larsen, to which no objection has been filed, the plea of guilty to Count I of the Indictment is

accepted. Defendant is adjudged guilty of such offense. Sentencing will be set by subsequent order

of the Court.



                                                    s/ NANETTE K .LAUGHREY
                                                    NANETTE K. LAUGHREY
                                                    United States District Judge

Kansas City, Missouri
May 4, 2010




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